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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                                                §
VS.                                             §   CASE NO. 9:12-CR-6(6)
                                                §
                                                §
MATTIE ALABAMA EMERSON                          §

          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

On April 3, 2012, this cause came before the undersigned United States Magistrate Judge for

entry of a guilty plea by the defendant, Mattie Emerson, on Count 5 of the charging Indictment

filed in this cause.


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       Count 5 of the Indictment charges that on or about June 9, 2008, in the Eastern District of

Texas, defendant, Mattie Emerson did knowingly and intentionally possess pseudoephedrine, a

List 1 chemical, with intent to manufacture a controlled substance, or with knowledge or

reasonable cause to believe that the listed chemical would be used for the unauthorized

manufacture of a controlled substance, namely a mixture or substance containing a detectable

amount of methamphetamine, in violation of Title 21 U.S.C. § 841(c)(1) and (c)(2).

Specifically, Count 5 charges that on or about June 9, 2008, at 3:05 pm at the CVS Pharmacy

#06959 in Nacogdoches, Texas, Mattie Emerson possessed 2.4 gm of pseudoephedrine in this

manner.

       Defendant, Mattie Emerson, entered a plea of guilty to Count 5 of the Indictment into the

record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a.      That Defendant, after consultation with counsel of record, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.      That Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal.




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       c.      That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

       d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and Defendant

realizes that her conduct falls within the definition of the crimes charged under 21 U.S.C. §

841(c)(1) and (c)(2).

                                  STATEMENT OF REASONS

       As factual support for Defendant’s guilty plea, the Government presented a factual

resume. See The Factual Resume. In support, the Government and Defendant stipulated that if

this case were to proceed to trial the Government would prove beyond a reasonable doubt,

through the sworn testimony of numerous witnesses, that Defendant possessed listed chemicals

having reasonable cause to believe that the listed chemical would be used to manufacture a

mixture or substance containing a detectable amount of methamphetamine as charged in Count 5

of the Indictment. The Court incorporates the proffer of evidence described in detail in the

factual resume in support of the guilty plea.

       Defendant, Mattie Emerson, agreed with and stipulated to the evidence presented in the

factual resume. Counsel for Defendant and the Government attested to Defendant’s competency

and capability to enter an informed plea of guilty. The Defendant agreed with the evidence



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presented by the Government and personally testified that she was entering her guilty plea

knowingly, freely and voluntarily.

                                   RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count 5 of the charging Indictment on file in this criminal

proceeding. The Court also recommends that the District Court accept the plea agreement.1

Accordingly, it is further recommended that, Defendant, Mattie Emerson, be finally adjudged as

guilty of the charged offense under Title 21, United States Code, Section 841(c)(1) and (c)(2).

        Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

the District Court may reject the plea and that the District Court can decline to sentence

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          “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept
the agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the
defendant that the defendant has no right to withdraw the plea if the court does not follow the
recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that
to the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will
be included in the judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type
specified in Rule 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for
good cause, in camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the
defendant an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less
favorably toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).

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Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

presentence report because the sentencing guidelines are advisory in nature. The District Court

may defer its decision to accept or reject the plea agreement until there has been an opportunity to

consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

agreement, the Court will advise Defendant in open court that it is not bound by the plea

agreement and Defendant may have the opportunity to withdraw the guilty plea, dependent upon

the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is rejected

and Defendant still persists in the guilty plea, the disposition of the case may be less favorable to

Defendant than that contemplated by the plea agreement. Defendant has the right to allocute

before the District Court before imposition of sentence.

                                          OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

(14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1).

       A party’s failure to object bars that party from: (1) entitlement to de novo review by a

district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275,

276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of unobjected-to

factual findings and legal conclusions accepted by the district court, see Douglass v. United Servs.

Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded

by Congress and the courts require that, when a party takes advantage of his right to object to a

magistrate’s findings or recommendation, a district judge must exercise its nondelegable authority

by considering the actual evidence and not merely by reviewing and blindly adopting the



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magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



                      SIGNED this the 4th day of April, 2012.




                                                         ____________________________________
                                                         KEITH F. GIBLIN
                                                         UNITED STATES MAGISTRATE JUDGE




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